
710 S.E.2d 54 (2011)
STATE of North Carolina
v.
Gary Wayne RICE.
No. 188P11.
Supreme Court of North Carolina.
June 15, 2011.
Amy Kunstling Irene, Assistant Attorney General, for State of North Carolina.
Gary Wayne Rice, Salisbury, for Rice, Gary Wayne.
Thomas J. Keith, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed by Defendant on the 20th of May 2011 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 15th of June 2011."
